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                                               ORDER
                                         Of the City Manager
                                       Morgantown, West Virginia

                                               July 28, 2020

       Pursuant to the authority delegated by the City Council in its Emergency Ordinance No.
2020-4, the following public health measures are adopted to address the COVID-19 Pandemic:

                                   Article I. Required Face Coverings

SECTION 1.                ADEQUATE FACE COVERING REQUIRED.

       a.      All individuals age 9 and over within the City of Morgantown shall wear an
adequate face covering when in confined, indoor spaces, except as follows:
               i.      when in one’s residence; or
               ii.     when actively engaged in the consumption of food and/or beverage; or
               iii.    when at one’s own place of work and occupying a separate space such as
       an office as the only occupant.

        The requirement of this Section 1 shall be construed in a manner consistent with the
requirements of Executive Order 50-20 issued by the Governor of the State of West Virginia on
July 6, 2020, except as otherwise expressly provided herein. The portion of Executive Order 50-
20 applying the requirement to wear a face covering only “when not able to adequately social
distance from other individuals who do not reside in the same household” is intentionally omitted
and replaced with the provisions of Paragraph (a)(iii) above. This Article I supersedes and replaces
the provisions of Article I of the Order of the City Manager dated July 14, 2020, adopted pursuant
to Emergency Ordinance 2020-3.

       b.          The following individuals are exempt from the requirement to wear adequate face
coverings:
                   i. Persons younger than nine years old. Very young children under age two must
           not wear a face covering because of the risk of suffocation.
                   ii. Persons with a medical condition, mental health condition, or disability that
           prevents wearing a face covering. This includes persons with a medical condition for whom
           wearing a face covering could obstruct breathing or who are unconscious, incapacitated, or
           otherwise unable to remove a face covering without assistance.
                   iii. Persons who are hearing impaired, or communicating with a person who is
           hearing impaired, where the ability to see the mouth is essential for communication.
                   iv. Persons for whom wearing a face covering would create a risk to the person
           related to their work, as determined by local, state, or federal regulators or workplace safety
           guidelines.
                   v. Persons who are obtaining a service involving the nose or face for which
           temporary removal of the face covering is necessary to perform the service.
                   vi. Persons who are seated at a restaurant or other establishment that offers food or
           beverage service, while they are eating or drinking, provided that they are able to maintain



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           a distance of at least six feet away from persons who are not members of the same
           household or residence.

SECTION 2.                 DEFINITIONS.

The following terms shall have the meanings given for purposes of this Article entitled “Required
face coverings”:

Face covering means any material or device worn so that it fully covers the nose and mouth
including cloth masks, bandanas or handkerchiefs, face shields, and dust mask.

Adequately social distance or adequate social distance means maintaining physical separation of
at least six feet between oneself and any other person.

SECTION 3.                 PENALTY.

Any violation of this Article shall be deemed a public nuisance subject to summary abatement by
the Chief of Police or other law enforcement officer. In addition, any violation shall be a
misdemeanor punishable by a fine of no less than $25.00 and no more than $500.00. Each day a
violation continues shall constitute a separate violation.

                             Article II. Limitation of Community Gatherings

SECTION 1.                RESTRICTIONS ON GATHERINGS.

       a.       Community Gatherings, as defined by Section 2 of this Article, are limited to 25
people, effective August 3, 2020.
                i.     After consultation with the Monongalia County Health Department and
       review of the Executive Orders of the Governor of the State of West Virginia, the City
       Manager has determined that limiting gatherings to 25 or fewer people will most effectively
       promote the public health by limiting events likely to contribute to the spread of COVID-
       19 while recognizing the need for people to gather. The 25-person gathering limit is
       consistent with the number to which certain gatherings are limited by Executive Order 51-
       20, issued by the Governor of the State of West Virginia on July 14, 2020. This gathering
       limit is supported by general guidance from national public health organizations and
       statistical data from academic institutions. The current guidance from the Centers for
       Disease Control and Prevention recognizes that gatherings with more people interacting
       for a longer amount of time increase the risk of transmission of COVID-19.1 The Georgia
       Institute of Technology has published a COVID-19 Risk Assessment Tool evaluating the
       risk of encountering a person infected with COVID-19 based on group size in each County
       of the United States. As of the date of this Order, a 25-person gathering in Monongalia
       County has a risk level of 67%.2 A 50-person gathering would raise the risk level to 89%.

1
     https://www.cdc.gov/coronavirus/2019-ncov/community/large-events/considerations-for-events-gatherings.html
(accessed July 26, 2020).
2
  https://covid19risk.biosci.gatech.edu/ (accessed July 26, 2020). Risk level is the estimated chance that at least one
individual present will be infected with COVID-19.


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                   ii.     The restriction on Community Gatherings is designed to apply to those
           group events most likely to contribute to the spread of COVID-19, which public health
           guidance concludes are events where multiple individuals are in close proximity – usually
           less than six feet apart – for extended periods – usually fifteen or more minutes. Public
           health guidance indicates that those events involving high quantities of speaking, and
           especially singing or other raised voices, may create additional risk.3 Community
           Gatherings covered by this Order are classified based on these public health risks and are
           not classified based on the groups promoting the event or the purpose of the event.
                   iii.    Activities exempt from Community Gatherings regulated by this Order are
           identified either by a type of activity that public health guidance indicates creates a lower
           risk of spread of COVID-19 or based on jurisdictional issues. Exceptions for transit and
           grocery or supply stores are made based upon guidance that use patterns in these
           establishments do not create group gatherings for extended periods of time, and are thus
           less likely to lead to the spread of COVID-19 infections. Exceptions for offices and
           workplaces not open to the public reflect the ability of individuals in such spaces to
           effectively isolate from others and avoid the type of extended exposure to others in
           confined spaces that is likely to lead to the spread of COVID-19 infections, particularly
           when employers follow the guidance at Paragraph (b) of this Section to participate in
           remote work whenever possible and especially upon employees’ request. Exceptions for
           medical facilities and social service agencies providing care reflect the unique position of
           such entities in responding to the COVID-19 pandemic, and the way in which these entities
           advance treatment and public health initiatives that contribute to limiting the spread and
           the worst effects of COVID-19, even if group gatherings may be necessary to facilitate
           these services at times. Exceptions for buildings or spaces operated by government
           agencies reflects the role of other government agencies in establishing public health
           regulations and the legal relationship between the City and other government agencies, as
           well as the likelihood that other government agencies are imposing similar limitations to
           follow public health guidance.

       b.     Whenever possible, and particularly where employees have requested
accommodations, workplace gatherings should be minimized through the use of electronic
meetings and remote work arrangements.

SECTION 2.                 DEFINITIONS.

         a.         For purposes of these regulations, a “Community Gathering” is any indoor or
outdoor event or convening, subject to the exceptions and clarifications below, that brings together
or is likely to bring together a number of persons determined by public health officials to constitute
a group size hazardous to public health at the same time in a single room or other single confined
or enclosed space, such as an auditorium, theatre, stadium (indoor or outdoor), arena or event
center, meeting hall, conference center, large cafeteria, or any other confined indoor or confined
outdoor space.
                 i.      For purposes of this Article, each separate structure shall constitute a single
         confined space, unless the operator of the building or a part thereof has obtained a
         determination from the City Manager and Fire Marshal, consistent with rules adopted in
3
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7330568/ (accessed July 26, 2020).


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           this Order, that a separate area or areas within the structure constitutes a separate confined
           indoor space.
                   ii.     Any owner or operator of a structure or space within a structure may apply
           to the City Manager to designate a portion of such structure as a separate confined space
           capable of hosting a Community Gathering by submitting a written request to
           callen@morgantownwv.gov or by mail to City Manager, 389 Spruce Street, Morgantown,
           WV 26505 stating the person’s name and ownership or operating interest, a contact phone
           number and email, identifying the structure by address and describing the area proposed as
           a separate confined space (including dimensions of the space and all access points), and
           stating the reasons why convening a Community Gathering in the space will not create
           additional risk of the transmission of COVID-19. The request should include a
           dimensioned floor plan if possible. The City Manager, the Fire Marshal, and any other
           official designated by the City Manager will review each request to determine whether
           authorizing the separate confined space will not cause additional harm to the public health,
           and they, or any of them, may inspect the space in order to make the determination. To the
           extent possible, any determination on a request to establish a separate confined space shall
           be made consistent with all state and county public health orders and with the input of the
           Monongalia County Health Department as it may be available.
                   iii.    The City Manager will respond to each request by email to the contact email
           address provided as promptly as reasonably possible, stating whether the request is granted
           (including any conditions to the authorization which the City Manager may establish in her
           reasonable discretion), whether the request is denied, or whether additional information is
           needed to make a determination. To the extent reasonably possible, the response will
           identify the public health reasons supporting the grant or denial of the request.

        b.     An outdoor “Community Gathering” under these regulations is limited to events in
outdoor spaces where people are present in a group exceeding the size permitted by this Order and
they are within six feet of one another for extended periods.

         c.      These regulations also do not prohibit gatherings of people in multiple, separate
enclosed spaces in a single building such as a school or office tower, so long as a prohibited group
size is not present in any single space at the same time. These regulations also do not prohibit the
use of enclosed spaces where a number of people exceeding a prohibited group size may be present
at different times during the day, so long as a number of people exceeding a prohibited group size
is not present in the space at the same time.

       d.       For purposes of clarity, a “Community Gathering” does not include the following
so long as individuals are generally not within arm’s length of one another for extended periods:

      (i)       spaces where more than the maximum number of persons specified by a city
manager’s order may be in transit or waiting for transit such as airports, bus stations, or terminals;

           (ii)     office spaces and other work spaces not open to the public for gatherings;

       (iii)   Residences and dwellings, except when used for commercial purposes or for
gatherings other than those limited to small groups of family and friends;



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       (iv)       grocery stores or other retail establishments where large numbers of people are
present, but it is unusual for them to be within arm’s length of one another for extended periods;

           (v)     hospitals and medical facilities;

        (vi)    social service agencies providing housing, clothing, food, or medical care, and
similar essential services; or

           (vii)   buildings or spaces operated by government agencies.

SECTION 3.                 PENALTY.

Any violation of this Article shall be deemed a public nuisance subject to summary abatement by
the Chief of Police or other law enforcement officer. In addition, any violation shall be a
misdemeanor punishable by a fine of up to five hundred (500) dollars. Each day a violation
continues shall constitute a separate violation.

                                               Effective Date

        This Order is effective beginning at 12:00 a.m. on July 29, 2020, and shall continue in
effect until repealed or modified by order of the City Manager, or until it expires by operation of
law.

           Adopted this 28th day of July, 2020:


           _________________________________
           Emily Muzzarelli, P.E.
           City Manager




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                                                                 Emergency Ordinance No. 2020-4

 AN EMERGENCY ORDINANCE CONTINUING THE STATE OF EMERGENCY AND
             AUTHORIZING PUBLIC HEALTH MEASURES TO
     PREVENT HARM TO THE PUBLIC DURING THE COVID-19 PANDEMIC

WHEREAS, the City Council has authority to address threats to the public health and safety in
accordance with West Virginia Code sections 8-12-5 paragraphs 23, 40, and 44; and

WHEREAS, the ongoing COVID-19 Pandemic threatens public health in the City; and

WHEREAS, effective March 16, 2020, the Governor of the State of West Virginia has declared a
state of emergency in all fifty-five West Virginia counties as a result of the COVID-19 pandemic;
and

WHEREAS, on March 23, 2020, the Governor of the State of West Virginia issued Executive
Order 9-20, denominated the “Stay at Home” Order, ordering citizens to stay at their residences
unless an exception permitted travel; and

WHEREAS, avoiding large gatherings and limiting close interactions with others outside our
homes, in compliance with guidelines from public health officials and as directed by Executive
Order 9-20 issued by the Governor of the State of West Virginia, were initially effective to limit
the spread of disease and conserve essential medical resources; and

WHEREAS, taking these steps to limit interpersonal interaction has been determined by public
health experts to be essential to avoiding a rapid increase in the spread of COVID-19 infections
that would be likely to overwhelm available health care resources and limit the ability of the health
care system to not only treat victims of COVID-19 but also to treat others with emergent medical
needs; and

WHEREAS, on April 30, 2020, the Governor of the State of West Virginia issued Executive Order
34-20, denominated the “Safer at Home” Order, lifting many of the mandatory restrictions on
travel and gatherings in the Stay at Home Order and providing relaxed restrictions for business
occupancies and the size of social gatherings;

WHEREAS, the Governor of the State of West Virginia issued guidelines and schedules for the
resumption of businesses and other facilities welcoming the public, together with measures
intended to limit the further spread of COVID-19 infections as members of the public enter and
gather at such businesses and facilities, which measures were denominated “West Virginia Strong:
The Comeback”; and

WHEREAS, West Virginia has experienced a substantial increase in the spread of COVID-19
infections since late June and accelerating in early July, and the Governor’s office reported on July
8, 2020 that the rate of spread in West Virginia had climbed to the fourth highest in the nation; and




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WHEREAS, a disproportionate number of new COVID-19 infections in West Virginia have
occurred in Monongalia County, which reported 115 confirmed cases in the week from June 29 to
July 5; and

WHEREAS, the upcoming return of students, faculty, and staff of West Virginia University in
early August will significantly increase the population and population density of the community,
which may lead to increased service needs from the community’s public health system, medical
professionals, and hospitals; and

WHEREAS, on July 6, 2020, Governor Justice issued Executive Order 50-20, as authorized by
West Virginia Code Chapter 15, Article 5, which requires that all individuals age 9 and over within
the State of West Virginia shall wear an adequate face covering when in confined, indoor spaces,
other than when in one’s residence or when actively engaged in the consumption of food and/or
beverage, and when not able to adequately social distance from other individuals who do not reside
in the same household; and

WHEREAS, Governor Justice has stated that he will consider additional measures instituting
specific penalties for violations of the requirement to wear an adequate face covering but has not
imposed such measures at the time of the adoption of this Ordinance; and

WHEREAS, West Virginia Code Chapter 15, Article 5, Section 18 provides that “A peace officer,
when in uniform or displaying a badge or other insignia of authority, may arrest without a warrant
any person violating or attempting to violate in such officer's presence any order, rule or regulation
made pursuant to this article. This authority shall be limited to arrest for violations of those orders,
rules and regulations which affect the public generally.”; and

WHEREAS, as noted in Executive Order 50-20, West Virginia’s public health experts have
advised that mandating the use of face coverings when in confined indoor spaces is appropriate to
combat the spread of COVID-19 infections; and

WHEREAS, national and public health experts also recommend wearing face coverings in public
as an important public health measure to prevent the spread of COVID-19 infections; and

WHEREAS, as of June 28, 2020, the United States Centers for Disease Control and Prevention
(“CDC”) posted a public message on its website indicating that COVID-19 infections mainly
spread through airborne respiratory droplets and the wearing face coverings will reduce infections;
and

WHEREAS, CDC’s full statements reads as follows: “COVID-19 spreads mainly from person to
person through respiratory droplets produced when an infected person coughs, sneezes, talks, or
raises their voice (e.g., while shouting, chanting, or singing). These droplets can land in the mouths
or noses of people who are nearby or possibly be inhaled into the lungs. Recent studies show that
a significant portion of individuals with COVID-19 lack symptoms (are “asymptomatic”) and that
even those who eventually develop symptoms (are “pre-symptomatic”) can transmit the virus to
others before showing symptoms. To reduce the spread of COVID-19, CDC recommends that
people wear cloth face coverings in public settings when around people outside of their household,



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especially when other social distancing measures are difficult to maintain.”
(https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/about-face-coverings.html)
(last visited July 9, 2020); and

WHEREAS, City Council finds and determines that public health measures including required
face coverings, limitations on the size of group gatherings, and maintaining physical distance
among individuals are effective and necessary means to ensure that all members of the public are
protected to the greatest extent practicable from the effects of the ongoing COVID-19 pandemic;
and

WHEREAS, the COVID-19 pandemic has caused grave economic harm in addition to the impact
on people’s health, including widespread job losses and reductions in income; and

WHEREAS, the unemployment rate in West Virginia, reported by the United States Bureau of
Labor Statistics, rose from 4.9% in February of 2020 to 12.9% in May of 2020
(https://www.bls.gov/eag/eag.wv.htm) (last visited July 9, 2020); and

WHEREAS, the unemployment rate in Monongalia County decreased from 12.1% in May of 2020
to 9.1% in June of 2020 but still reflected unemployment of 5,190 people participating in the
civilian labor force (http://lmi.workforcewv.org/DataRelease/CountyRelease.html) (last visited
July 9, 2020); and

WHEREAS, the loss of employment and wages is likely to impact the ability of individuals
experiencing these financial and economic harms to timely pay recurring obligations such as utility
bills and rental payments; and

WHEREAS, the loss of housing by those individuals unable to make such recurring monthly
payments would decrease their ability to participate in public health measures such as physical
distancing which are necessary to limit the spread of COVID-19 and would increase the demand
for services on the community’s public health system during its response to COVID-19; and

WHEREAS, limitations on eviction of tenants or shutoff of utilities for nonpayment will
ameliorate the public health hazard that may occur due to the loss of housing by individuals unable
to make recurring payments as a result of job losses or wage losses related to the COVID-19
pandemic; and

WHEREAS, West Virginia Code Chapter 8, Article 11, Section 3(d) provides that City Council
may enact an emergency ordinance without following the ordinary procedures prescribed by law
in the case of a pressing public emergency making action under the ordinary procedure dangerous
to the public health, safety or morals, and by affirmative vote of two thirds of the members of
Council; and

WHEREAS, the nature of any emergency justifying adoption of an emergency ordinance must be
set out in full in the ordinance; and




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WHEREAS, the ongoing spread of the COVID-19 pandemic and the threat that the pandemic will
deny individuals necessary health care resources and increase job and wage losses if measures are
not promptly taken to limit public gatherings and interactions that spread the disease as well as to
promote safe public interactions with adequate face coverings create a pressing public emergency
justifying adoption of this emergency ordinance; and

WHEREAS, West Virginia Code Chapter 8, Article 11, Section 2 authorizes delegation of duties
by Council to an officer when it would be impracticable to lay down by ordinance for all cases a
uniform guide for exercising such discretion; and

WHEREAS, the nature of the COVID-19 pandemic requires discretion to respond to the
developing spread of the disease such that discretion to employ the specific emergency measures
authorized by this Ordinance must be delegated to an officer of the City;

WHEREAS, the ongoing spread of the COVID-19 pandemic and the state and federal guidelines
providing for the resumption of public gatherings and reopening of businesses and facilities
welcoming the public create a pressing public need to respond to renewed activity by altering local
laws and regulations to promote outdoor activity, appropriate face coverings, and physical
distancing to limit the further spread of COVID-19 infections, and this pressing public need
justifies adoption of this emergency ordinance; and

NOW, THEREFORE, The City of Morgantown hereby ordains the following:


           Article I. Continuation of Declaration of Emergency; Authority of City Manager;
                                      Implementation of Authority

SECTION 1. The Governor of the State of West Virginia declared a state of emergency in all
fifty-five counties in West Virginia effective March 16, 2020 due to the ongoing COVID-19
pandemic. The state of emergency remains in effect as of the date of adoption of this ordinance.

SECTION 2. The City of Morgantown recognizes the declared state of emergency as effective
within the City and hereby declares that such state of emergency shall continue within the City
until the declaration of a state of emergency is terminated by the Governor. The City of
Morgantown recognized and declared the state of emergency in the City under Emergency
Ordinance 2020-1, which ordinance was made effective for a period of ninety (90) days and the
provisions of which would expire without further action. The City of Morgantown extended the
effective period of the provisions of Emergency Ordinance 2020-1 to September 25, 2020 in
Emergency Ordinance No. 2020-2 and again extended the effective dates of the provisions in
adopted Emergency Ordinances Nos. 2020-1, -2, and -3 through December 15, 2020 by adopting
Emergency Ordinance No. 2020-3. The authorities enacted within Emergency Ordinances 2020-
1, 2020-2, and 2020-3 are hereby continued in effect until they expire pursuant to the terms of this
Ordinance, except as they may be modified or supplemented by this Emergency Ordinance No.
2020-4.




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 SECTION 3. In accordance with West Virginia Code Chapter 15, Article 5, Section 8, each
 political subdivision in which any disaster as described in W. Va. Code § 15-5-1 occurs shall have
 the power to enter into contracts and incur obligations necessary to combat such disaster, protect
 the health and safety of persons and property and provide emergency assistance to the victims of
 such disaster. Each political subdivision is authorized to exercise its powers under this section in
 light of the exigencies of extreme emergency situations without regard to time-consuming
 procedures and formalities prescribed by law (excepting mandatory constitutional requirements)
 pertaining to the performance of public work, entry into contracts, incurring of obligations,
 employment of temporary workers, rental of equipment, purchase of supplies and materials,
 levying of taxes and appropriation and expenditure of public funds.

 SECTION 4. The City Manager is hereby authorized and directed to exercise these authorities,
 with the advice and direction of Council, to combat the COVID-19 pandemic giving rise to the
 above-referenced declaration of a state of emergency by the Governor.

 SECTION 5. During the effective period of this Ordinance, the City Manager is authorized and
 directed to implement all appropriate and necessary measures authorized by this Ordinance to
 address the COVID-19 pandemic, consistent with the advice and direction of City Council.

 SECTION 6. Prior to implementing any such authority or authorities, the City Manager shall
 adopt a written order identifying the authority to be employed and the means to be used in
 employing the authority, and the written order shall be delivered to each member of City Council,
 to the City Clerk, who shall keep a record of such order, and shall be made available to the public.

 SECTION 7. The restrictions established by this Ordinance, shall apply only upon issuance of a
 written order of the City Manager pursuant to Section 6 of this Article, and only to the extent stated
 therein; provided that the suspension of inspections adopted in Article IV of this Ordinance shall
 become effective immediately without action of the City Manager.


                                 Article II. Required face coverings

 SECTION 1.             ADEQUATE FACE COVERING REQUIRED.

        (a)     The City Manager may order, pursuant to Article I of this Ordinance, that all
 individuals age 9 and over within the City of Morgantown shall wear an adequate face covering
 when in confined, indoor spaces, except as follows:
                (i)     when in one’s residence; or
                (ii)    when actively engaged in the consumption of food and/or beverage; or
                (iii) when at one’s own place of work and occupying a separate space such as
        an office as the only occupant.

         The requirement of this Section 1 shall be construed in a manner consistent with the
 requirements of Executive Order 50-20 issued by the Governor of the State of West Virginia on
 July 6, 2020, except as otherwise expressly provided herein. The portion of Executive Order 50-
 20 applying the requirement to wear a face covering only “when not able to adequately social



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 distance from other individuals who do not reside in the same household” is intentionally omitted
 and replaced with the provisions of Paragraph (a)(iii) above.

        (b)          The following individuals are exempt from the requirement to wear adequate face
 coverings:
                    (i)      Persons younger than nine years old. Very young children under age two
            must not wear a face covering because of the risk of suffocation.
                    (ii) Persons with a medical condition, mental health condition, or disability that
            prevents wearing a face covering. This includes persons with a medical condition for whom
            wearing a face covering could obstruct breathing or who are unconscious, incapacitated, or
            otherwise unable to remove a face covering without assistance.
                    (iii) Persons who are hearing impaired, or communicating with a person who is
            hearing impaired, where the ability to see the mouth is essential for communication.
                    (iv) Persons for whom wearing a face covering would create a risk to the person
            related to their work, as determined by local, state, or federal regulators or workplace safety
            guidelines.
                    (v) Persons who are obtaining a service involving the nose or face for which
            temporary removal of the face covering is necessary to perform the service.
                    (vi) Persons who are seated at a restaurant or other establishment that offers food
            or beverage service, while they are eating or drinking, provided that they are able to
            maintain a distance of at least six feet away from persons who are not members of the same
            household or residence.

 SECTION 2.                 DEFINITIONS.

 The following terms shall have the meanings given for purposes of this Article III entitled
 “Required face coverings”:

 Face covering means any material or device worn so that it fully covers the nose and mouth
 including cloth masks, bandanas or handkerchiefs, face shields, and dust mask.

 Adequately social distance or adequate social distance means maintaining physical separation of
 at least six feet between oneself and any other person.

 SECTION 3.                 PENALTY.

 Any violation of this Article II shall be deemed a public nuisance subject to summary abatement
 by the Chief of Police or other law enforcement officer. In addition, any violation shall be a
 misdemeanor punishable by a fine of no less than $25.00 and no more than $500.00. Each day a
 violation continues shall constitute a separate violation.

                             Article III. Limitation of Community Gatherings

 SECTION 1.                RESTRICTIONS ON GATHERINGS.




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        Public or private Community Gatherings (as defined in Section 2 below) may be prohibited
 anywhere in the City by written order of the City Manager in accordance with Article I of this
 Emergency Ordinance. This Article modifies and supersedes the provisions of Article II of
 Emergency Ordinance 2020-1 entitled “Limitation of Community Gatherings.” Whenever
 possible, and particularly where employees have requested accommodations, workplace
 gatherings should be minimized through the use of electronic meetings and remote work
 arrangements.

 SECTION 2.               DEFINITIONS.

          a.         For purposes of these regulations, a “Community Gathering” is any indoor or
 outdoor event or convening, subject to the exceptions and clarifications below, that brings together
 or is likely to bring together a number of persons determined by public health officials to constitute
 a group size hazardous to public health at the same time in a single room or other single confined
 or enclosed space, such as an auditorium, theatre, stadium (indoor or outdoor), arena or event
 center, meeting hall, conference center, large cafeteria, or any other confined indoor or confined
 outdoor space. For purposes of this Article, each separate structure shall constitute a single
 confined space, unless the operator of the building or a part thereof has obtained a determination
 from the City Manager and Fire Marshal, consistent with rules adopted in an order of the City
 Manager implementing this Article, that a separate area or areas within the structure constitutes a
 separate confined indoor space. To the extent possible, any determination on a request to establish
 a separate confined space shall be made consistent with all state and county public health orders
 and with the input of the Monongalia County Health Department as it may be available. The
 number of persons constituting a “Community Gathering” shall be identified in any order of the
 City Manager implementing a restriction authorized by this Article, and the order shall state the
 reasons for use of the number selected as the threshold to trigger restrictions.

        b.     An outdoor “Community Gathering” under these regulations is limited to events in
 outdoor spaces where people are present in a group exceeding the size permitted by order of the
 City Manager and they are within six feet of one another for extended periods.

          c.      These regulations also do not prohibit gatherings of people in multiple, separate
 enclosed spaces in a single building such as a school or office tower, so long as a prohibited group
 size is not present in any single space at the same time. These regulations also do not prohibit the
 use of enclosed spaces where a number of people exceeding a prohibited group size may be present
 at different times during the day, so long as a number of people exceeding a prohibited group size
 is not present in the space at the same time.

        d.       For purposes of clarity, a “Community Gathering” does not include the following
 so long as individuals are generally not within arm’s length of one another for extended periods:

       (i)       spaces where more than the maximum number of persons specified by a city
 manager’s order may be in transit or waiting for transit such as airports, bus stations, or terminals;

            (ii)     office spaces and other work spaces not open to the public for gatherings;




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        (iii) Residences and dwellings, except when used for commercial purposes or for
 gatherings other than those limited to small groups of family and friends;

        (iv)       grocery stores or other retail establishments where large numbers of people are
 present, but it is unusual for them to be within arm’s length of one another for extended periods;

            (v)      hospitals and medical facilities;

         (vi)    social service agencies providing housing, clothing, food, or medical care, and
 similar essential services; or

            (vii)    buildings or spaces operated by government agencies.

 SECTION 3.                  PENALTY.

 Any violation of this Article shall be deemed a public nuisance subject to summary abatement by
 the Chief of Police or other law enforcement officer. In addition, any violation shall be a
 misdemeanor punishable by a fine of up to five hundred (500) dollars. Each day a violation
 continues shall constitute a separate violation.

                               Article IV. Suspending inspection of rental units

 SECTION 1.                  FINDINGS.

 The City Council finds and determines that the regular inspection of rental housing units in
 connection with the City Housing Code, codified at Article 1751 of the City Code, causes members
 of the public who are renters to interact with individuals outside their housing unit in a way that
 may create the risk or apprehension of risk of exposure to COVID-19 and that is likely to expose
 Code Enforcement officers and members of the Fire Marshals division to areas where persons
 infected with COVID-19 may be present. Although these regular inspections promote public
 safety by ensuring structures comply with building and fire codes, the City Council finds and
 determines that public safety is better served, during the applicable period of this Article, by
 limiting interactions likely to create the risk of COVID-19 spread and that, therefore, such regular
 inspections are suspended as stated in this Article.

 SECTION 2.     REGULAR                       INSPECTIONS         SUSPENDED;       LETTERS       OF
 COMPLIANCE EXTENDED.

        (a)     For any property at which a Letter of Compliance issued pursuant to City Code §
 1751.05 expired or expires between the dates of March 12, 2020 and December 31, 2020, the
 previously issued Letter of Compliance shall remain valid and in effect until February 28, 2021.

       (b)     All regular inspections associated with applications for renewal of Letters of
 Compliance pursuant to City Code § 1751.05 are suspended until December 31, 2020. Property
 owners whose Letter of Compliance has been extended in accordance with Paragraph (a) shall
 make application for renewal in advance of the expiration to allow a reasonable time for processing



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 of the renewal application and inspection of the property prior to expiration of the Letter of
 Compliance on February 28, 2021.

 SECTION 3.             INSPECTIONS FOR COMPLAINTS CONTINUED.

 This Article shall not suspend or limit inspections of structures pursuant to complaints or occupant
 requests for inspection, or for any other lawful reason authorizing inspection except the regular
 inspections in connection with applications for letters of compliance pursuant to City Code §
 1751.05.

 SECTION 4.             EFFECTIVE PERIOD.

 This Article shall become effective on the date of adoption and continue in effect until December
 31, 2020, unless terminated or modified by action of City Council or where otherwise specified by
 its terms.

                                 Article V. Suspension of evictions

 SECTION 1. EVICTION OF RESIDENTIAL TENANTS RESTRICTED.

         (a)    Eviction of any tenant of residential real property (including spaces in mobile home
 parks) (a “tenant”) by any property owner or agent of a property owner (a “landlord”) may be
 prohibited by written order of the City Manager in accordance with Article I of this Emergency
 Ordinance.

         (b)      The order of the City Manager to prohibit landlords from evicting tenants shall
 provide that the landlord will not evict the tenant or institute proceedings to evict the tenant if,
 within 30 days after payment for the rental of residential real property (including spaces in mobile
 home parks) is due, the tenant provides notification and documentation to the landlord
 substantiating that the nonpayment of rent is related to one or more of the following substantial
 financial hardships caused by the COVID-19 pandemic (a “Notice of Documented Harship”):
                  (i)     Substantial loss of income arising from a job loss; layoff; reduction in
 compensable hours of work; closing of a store, restaurant, office, or business (including a nonprofit
 organization); a decrease in business income caused by a reduction in operating hours or consumer
 demand; a decrease in charitable giving; the need to miss work to care for a homebound school-
 age minor child or to care for a family member infected with COVID-19; the inability to work due
 to infection with COVID-19; or a similar cause of a substantial loss of income caused by COVID-
 19 or a local, state, or federal government response to COVID-19; or
                  (ii)    Substantial out-of-pocket medical expenses cause by the COVID-19
 pandemic in an amount equal to or greater than 50% of the amount of the customer’s monthly rent.

         (c)     To invoke the protections provided in Paragraph (b) above, the tenant must deliver
 written Notice of Documented Hardship to the landlord that reasonably identifies the tenant, the
 residential real property involved, and the due date of the payment, and includes documentation
 reasonably supporting the substantial loss of income or out-of-pocket medical expenses such as
 termination notices, payroll checks, pay stubs, bank statements, general ledgers, accounting



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 journals, business receipts, medical bills, or signed letters or statements from an employer or
 supervisor explaining the changed financial circumstances. The Notice of Documented Hardship
 may be delivered by any reasonable means, including email.

         (d)    After receiving a Notice of Documented Hardship, the landlord shall not, with
 respect to the nonpayment subject of the Notice of Documented Hardship, evict the tenant, or
 institute proceedings to evict the tenant, for the nonpayment identified in the Notice of
 Documented Hardship.

         (e)     Nothing in this Article shall relieve a tenant of the obligation to pay rent nor restrict
 the landlord’s ability to recover rent from the tenant.

 SECTION 2.              PURPOSE AND EFFECT.

 This Article is intended to preempt any eviction of a tenant governed by its terms and to operate
 as an affirmative defense to any action seeking authority to evict such a tenant, to the extent
 permitted by law.

 SECTION 3.              PENALTY.

 Any violation of this Article II shall be deemed a public nuisance subject to summary abatement
 by the Chief of Police or other law enforcement officer. In addition, any violation shall be a
 misdemeanor punishable by a fine of up to five hundred (500) dollars. Each day a violation
 continues shall constitute a separate violation.

                                        Article VI. Severability

 To the extent any provision of this Ordinance is found illegal or unenforceable by any court or
 administrative authority having jurisdiction to make such a determination, the remainder of the
 Ordinance shall remain in effect and shall be given effect as though the provision found illegal or
 unenforceable were omitted.

 This ordinance shall be effective upon adoption and, except where expressly stated otherwise, shall
 lapse without further action on December 15, 2020.


 ADOPTED: July 21, 2020                                          ______________________________
                                                                 Mayor


 FILED: July 23, 2020
                                                                 ______________________________
                                                                 City Clerk




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